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                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA


 FRANCIS BROWN CIVIL ACTION

 VERSUS

 DARRYL VANNOY NO. 19-00763-BAJ-EWD

                               RULING AND ORDER

      Before the Court is the United States Magistrate Judge's Report and

Recommendation (Doc. 5) pursuant to 28 U.S.C. § 636(b)(l). The Report and

Recommendation addresses pro se Plaintiffs Complaint (Doc. 1), seeking relief for

alleged violations of his right to be free from cruel and unusual punishment based on

various instances of conduct that he asserts constitute deliberate indifference to a


serious medical need under 42 U.S.C. § 1983. The Magistrate Judge recommends that


Plaintiffs federal claims be dismissed, with prejudice, for failure to state a claim upon

which relief may be granted pursuant to 28 U.S.C. §§ 1915(e) and 1915A.

      The Report and Recommendation noted that because Plaintiff does not make

any allegation that Defendant was personally involved in the alleged conduct nor that

he created policies which facilitated the conduct, Defendant cannot be held liable

under 42 U.S.C. § 1983. Further, even had Plaintiff filed his Complaint against a

proper defendant, his claims should still be dismissed as they fail to meet the pleading

standards required by 42 U.S.C. § 1983. The Magistrate Judge further recommends

that, to the extent there are any state law claims within the complaint, the Court
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decline to exercise supplemental jurisdiction over any such claims and that the case


be dismissed.


       Plaintiff filed a timely Objection to the Report and Recommendation (Doc. 6).

Plaintiff correctly notes that the court may only decline to exercise supplemental

jurisdiction over state law claims when the court has dismissed all claims over which

it has original jurisdiction. He then argues that his First Amendment claims are not

state law claims and should not be dismissed. (Doc. 6 at 3). He fails to note the crux

of the Magistrate Judge s conclusion, that Plaintiff is suing the incorrect Defendant.

Further, his retaliation claims are not in his Complaint, but rather in a separate


notice of judicial adjudication, and therefore are not the subject of this order. (Doc. 4)

      Having independently considered the underlying Complaint, Objection, and

related filings, the Court APPROVES the Magistrate Judge's Report and

Recommendation, and ADOPTS it as the Court s opinion herein.

      Accordingly,

      IT IS ORDERED that Plaintiffs Complaint is DISMISSED WITH

PREJUDICE for the reasons explained in the Magistrate Judges Report and

Recommendation (Doc. 5).
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      IT IS FURTHER ORDERED that the Court declines to exercise

supplemental jurisdiction over any state law claims.

      A separate judgment will be issued.




                         Baton Rouge, Louisiana, this   I�   day of October , 2020




                                      JUDGE BRIAN L�u;>f'../KSON
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA




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